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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                          Plaintiff,

         v.                                              No. 20 Civ. 7311 (LAK)

 DONALD J. TRUMP, in his personal capacity,

                          Defendant.


        DECLARATION OF ROBERTA A. KAPLAN IN SUPPORT OF
  PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
MOTION TO STAY EXECUTION OF THE JUDGMENT PENDING DISPOSITION OF
                    THE POST-TRIAL MOTIONS

        I, Roberta A. Kaplan, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.      I am a member of the bar of the State of New York and am admitted to appear

before this Court. I am a partner in the law firm Kaplan Hecker & Fink LLP, counsel for Plaintiff

E. Jean Carroll in the above-captioned action.

        2.      I respectfully submit this declaration in support of Carroll’s memorandum of law

in opposition to Defendant’s motion to stay execution of the judgment pending disposition of the

post-trial motions.

        3.      Attached hereto as Exhibit 1 is true and correct copy of excerpts from the official

transcript of the trial in this action.

        4.      Exhibit 2 is a true and correct copy of PX-147-V, which was entered into evidence

during the trial in this action and is being submitted to the Court via CD.

        5.      Attached hereto as Exhibit 3 is a true and correct copy of PX-148, which was

entered into evidence during the trial in this action.




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        6.      Attached hereto as Exhibit 4 is a true and correct copy of PX-1, which was entered

into evidence during the trial in this action.

        7.      Attached hereto as Exhibit 5 is a true and correct copy of PX-2, which was entered

into evidence during the trial in this action.

        8.      Attached hereto as Exhibit 6 is a true and correct copy of PX-40, which was entered

into evidence during the trial in this action.

        9.      Attached hereto as Exhibit 7 is a true and correct copy of PX-47, which was entered

into evidence during the trial in this action.

        10.     Attached hereto as Exhibit 8 is a true and correct copy of PX-59, which was entered

into evidence during the trial in this action.

        11.     Attached hereto as Exhibit 9 is a true and correct copy of PX-66, which was entered

into evidence during the trial in this action.

        12.     Attached hereto as Exhibit 10 is a true and correct copy of PX-85, which was

entered into evidence during the trial in this action.

        13.     Attached hereto as Exhibit 11 is a true and correct copy of PX-118, which was

entered into evidence during the trial in this action.

        14.     Attached hereto as Exhibit 12 is a true and correct copy of PX-134, which was

entered into evidence during the trial in this action.

        15.     Attached hereto as Exhibit 13 is a true and correct copy of an excerpt from the

official transcript of the trial in the related action, Carroll v. Trump, No. 22 Civ. 10016 (S.D.N.Y.).

        16.     Attached hereto as Exhibit 14 is a true and correct copy of PX-96, which was

entered into evidence during the trial in this action.




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       17.     Exhibit 15 is a true and correct copy of PX-97, which was entered into evidence

during the trial in this action and is being submitted to the Court via CD.

       18.     Attached hereto as Exhibit 16 is a true and correct copy of PX-98, which was

entered into evidence during the trial in this action.

       19.     Exhibit 17 is a true and correct copy of PX-99, which was entered into evidence

during the trial in this action and is being submitted to the Court via CD.

       20.     Attached hereto as Exhibit 18 is a true and correct copy of PX-100, which was

entered into evidence during the trial in this action.

       21.     Attached hereto as Exhibit 19 is a true and correct copy of PX-101, which was

entered into evidence during the trial in this action.

       22.     Exhibit 20 is a true and correct copy of PX-144, which was entered into evidence

during the trial in this action and is being submitted to the Court via CD.

       23.     Attached hereto as Exhibit 21 is a true and correct copy of PX-144-T, which was

entered into evidence during the trial in this action.

       24.     Attached hereto as Exhibit 22 is a true and correct copy of PX-146, which was

entered into evidence during the trial in this action.

       25.     Exhibit 23 is a true and correct copy of PX-149, which was entered into evidence

during the trial in this action and is being submitted to the Court via CD.

       26.     Attached hereto as Exhibit 24 is a true and correct copy of PX-152, which was

entered into evidence during the trial in this action.

       27.     Attached hereto as Exhibit 25 is a true and correct copy of PX-160, which was

entered into evidence during the trial in this action.




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         28.      Exhibit 26 is a true and correct copy of PX-164, which was entered into evidence

during the trial in this action and is being submitted to the Court via CD.

         29.      Attached hereto as Exhibit 27 is a true and correct copy of PX-164-T, which was

entered into evidence during the trial in this action.

         30.      Attached hereto as Exhibit 28 is a true and correct copy of PX-165, which was

entered into evidence during the trial in this action.

         31.      Attached hereto as Exhibit 29 is a true and correct copy of PX-166, which was

entered into evidence during the trial in this action.

         I declare under penalty of perjury that the foregoing is true and correct.



Dated:         New York, New York                        __________________________
               February 29, 2024                         Roberta A. Kaplan




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